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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

THE BOARD OF REGENTS OF THE          §
UNIVERSITY OF TEXAS SYSTEM,          §
                                     §
                     Plaintiff,      §
                                     §
v.                                   §
                                     §                      Civil Action No. 4:16-cv-03155
                                     §
NANTHEALTH, INC.;                    §
NANTWORKS, LLC;                      §
NANT HOLDINGS IP, LLC;               §
and DR. PATRICK SOON-SHIONG,         §
                                     §
                     Defendants.     §
____________________________________ §

               ORDER GRANTING MOTION TO DISMISS AND TRANSFER

         Three of the four defendants in this case, NantWorks, LLC (“NantWorks”), Nant

Holdings IP, LLC (“Nant IP”), and Dr. Patrick Soon-Shiong (“Dr. Soon-Shiong”) (collectively,

the “California Defendants”), have moved the Court, pursuant to Rule 12(b)(2) of the Federal

Rules of Civil Procedure, to dismiss the First Amended Complaint for failure to plausibly allege

a prima facie case for the exercise of personal jurisdiction over them.

         In addition, all of the defendants, including NantHealth, Inc. (“NantHealth”) have moved

the Court, pursuant to 28 U.S.C. § 1404(a), for the convenience of the parties and witnesses, and

in the interests of justice, to transfer this action to the United States District Court for the Central

District of California.

         NantHealth has moved the Court to extend the time for it to answer or otherwise respond

to the First Amended Complaint until the Court has ruled on the pending motion, and all of the

defendants have moved the Court to stay discovery until the Court has ruled on the pending


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motion.

         NOW THEREFORE, the Court, having reviewed the motion, its supporting declaration

and exhibits, the opposition thereto, the California Defendants’ reply, the First Amended

Complaint, and finding good cause therefore:

         IT IS HEREBY ORDERED THAT, the California Defendants’ motion to dismiss is

GRANTED. The California Defendants are dismissed from this action.

         IT IS HEREBY FURTHER ORDERED THAT, the defendants’ motion to transfer is

GRANTED. Pursuant to 28 U.S.C. § 1404(a), for the convenience of the parties and witnesses,

and in the interests of justice, this action is transferred to the United States District Court for the

Central District of California.

                                               IT IS SO ORDERED.



                                               ________________________________
                                               UNITED STATES DISTRICT JUDGE


                                               DATED: ________________________




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